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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

     UNITED STATES OF AMERICA,                        Civil No. 07-174(1) (JRT/JJG)

                                   Plaintiff,

     v.                                         ORDER GRANTING MOTION FOR
                                                   REFUND OF FILING FEE
     ANTWOYN TERRELL SPENCER

                                 Defendant.




          Jeffrey S. Paulsen, William J. Otteson, and James S. Alexander, UNITED
          STATES ATTORNEY’S OFFICE, 300 South Fourth Street, Suite 600,
          Minneapolis, MN 55415, for plaintiff.

          Daniel W. Schermer, DANIEL W. SCHERMER, P.A., 700 Lumber
          Exchange Building, 10 South Fifth Street, Minneapolis, MN 55402-1033,
          for defendant.


          On July 8, 2009, defendant Antwoyn Spencer filed a motion for refund of a filing

fee paid for his appeal, (Docket No. 329), asserting that the fee was inadvertently paid

after Spencer was granted in forma pauperis status.

          Based on the foregoing, all the records, files, and proceedings herein, IT IS

HEREBY ORDERED that Spencer’s Motion for Refund of Filing Fee [Docket No. 329]

is GRANTED. It is FURTHER ORDERED that the filing fee should be refunded

directly to Spencer’s counsel, Daniel W. Schermer, at 700 Lumber Exchange Building,

10 South Fifth Street, Minneapolis, MN 55402.




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DATED: July 17, 2009                 _________s/John R. Tunheim________
at Minneapolis, Minnesota.                    JOHN R. TUNHEIM
                                           United States District Judge




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